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               Item               1,       2
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                                                                                      DALTON LEP STUDENTS
                                                                                      AS OFAPRIL 1, 2011
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                                                                    rad    PEIMSID                   Name.     81,   ESLLEP meLa iRis SE GT Sex   igran CIE Amlndksia Black awaila White  ispani EcoDis
                                                                    KG    644949008   ALONSO,ARMANDO           3     0  1   01   1    0 0 M     1       0   0     0   0     0      1     1       01
                                                                    KG    638949154   ARELLANO,BRENDAG         3     0   1   01  1    1  1 F    1       0   0     0   0     0      1     1       01
                                                                    KG    628948493   CASTRO,ANDREA            3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    644965592   CASTRO,MARITZAM          3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    643961832   DE LEON,ELIZABETH        3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    643964938   ESCOBAR,SARAHY           3     0   1   01    1    0   1   F   0    0   0      0   0     0      1     1     00
                                                                    KG    645966615   FERNANDEZ,GAEL           3     0   1   01    1    0   1   M   0    0   1      0   0     0      0     1     01
                                                                    KG    635949930   GARCIA,APRIL             3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    346047755   GARCIA,PRISCILLA         3     0   1   98    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    633945799   GARZA,DAYANARA           3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    345049776   GUZMAN,KELLY             0     0   1   01    1    0   0   F   0    0   0      0   1     0      0     1     00
                                                                    KG    641949320   HERNANDEZ,SAIDAY         3     0   1   01    1    0   0   F   1    0   0      0   0     0      1     1     01
                                                                    KG    629984831   HUERTA,NAOMI             3     0   1   01    1    0   0   F   1    0   0      0   0     0      1     1     01
                                                                    KG    627968182   LEIJA,JOSE G             3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    KG    631968957   LOPEZ,ANGELJ             3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    KG    599762463   MARIN-TORRES,REINALDOA   3     0   1   01    1    0   1   M   0    0   0      0   0     0      1     1     01
                                                                    KG    631987782   MATA,DANIELAH            3     0   1   01    1    0   0   F   0    0   0      0   0     0      1     1     01
                                                                    KG    627940881   MELENDEZ,JAQUELINNE      3     0   1   01    1    0   1   F   0    0   0      0   0     0      1     1     01
                                                                    KG    629960380   MORALES,BENJAMIN         0     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    KG    598780922   PEREZ-AVILES,ADRIANA I   3     0   1   01    1    0   0   F   0    0   1      0   0     0      0     1     01
                                                                    KG    639942558   RAMIREZ,ELIAS            3     0   1   01    1    0   1   M   0    0   0      0   0     0      1     1     01
                                                                    KG    630969607   RAMIREZ,ENRIQUE          3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    KG    644940582   REYES,ALEX A             3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    KG    644966413   RODRIGUEZ,ERICA          3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     00
                                                                    KG    641963622   SILVA,MAXIMILIANO D      3     0   1   01    1    0   0   M   0    0   0      0   0     0      1     1     01
                                                                    PK    640049762   AGUILAR,JAZMIN M         3     0   1   01    1    0   0   F   1    0   0      0   0     0      1     1     01
                                                                    PK    641020367   ALCALA,AYLY    I         3     0   1   01    1    0   0   F   1    0   0      0   0     0      1     1     01
                                                                    PK    632985190   BALDERAS,JESUSJ          3     0   1   01    1    0   0   M   1    0   0      0   0     0      1     1     01
                                                                    PK    640020055   CERVANTES,HILARIO           3   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    PK    640047091   DEHOYOS,JESUSE              3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
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                                                                    PK    627049220   FLORES,DIEGO   E            3   0   1   01   1   1   0   M   0   0   0   0   0   0   1   1   01
                                                                    PK    322068150   GARCIA,EMMANUEL             3   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    PK    636046835   LUNA,NARDAA                 3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    635022001   MARTINEZ,JAIME     E        3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    PK    641988966   MELENDEZ-HERRERA,JASMINE    3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    636047730   MENDOZA,DIEGOA              3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    PK    642986774   MORIN,JACOBO N              3   0   1   01   1   0   0   M   1   0   0   0   1   0   0   1   01
                                                                    PK    633047934   RAMIREZ,ALONDRA I      3        0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    641024839   RAMIREZ-ROMERO,TAMARAA 3        0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    632041562   RIVERA,OMAR                 3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    P1<   636988495   RODRIGUEZ,VICTORIAA         3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    638982547   ULLOA,VERONICAM             3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    PK    627024336   VASQUEZ CHACON,HECTOR   E   3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
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                                                                    Grade    PEIMSID             Name            Bil ESI LEP me   SE GT Sex       igran CTE       Amtnd       Asian       Black wail Whit ispan EcoDis
                                                                                       ANTHON LEP STUDENTS
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                                                                                      As of April 1, 2011
                                                                                                                 3010111                              00
                                                                                                                 3010110 OF
                                                                    01      632928670 AGUILAR,CELINA E                                        1                           0           0        0     1    1    01
                                                                    01      643907144 ALARDIN,RYNALDO D                  1MO                          00                  0           0        0               00
                                                                    01      356027490 CARREON,MARCO A            3010110OOMO
                                                                                                                 301011
                                                                                                                         OMO                          00                  0           0        0
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                                                                    01      639904375 CHACON,JUSTIN                                                   00                  0           0        0               01
                                                                                                                 301011                               00
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                                                                                                                 3010110OOF
                                                                    01      510231409 GALINDO,MARIA G                                         0                           0           0        0     1    1    01
                                                                    01      433922278 GARCIA,MARISSA                     OF                   0        0      0           0           0        0               01
                                                                                                                 301011                               01
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                                                                                                                 3010110OOMO
                                                                    01      637923368 GARZA,ISAIAS                                                                        0           0        0    0     1    02
                                                                    01      634902065 GONZALEZ,DIVANY                    OF                   1       00                  0           0        0
                                                                    01      631969392 HUERTA,ALFRED J            3010110 OM1
                                                                                                                 3010110                              00                  0           0        0
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                                                                    01      635849018 LONGORIA,CESAR M                   OMO                          00                  0           0        0               01
                                                                    01      637904922 LOPEZ,BLANCA M             301011 OOF                   0       00                  0           0        0
                                                                                                                                                                                                    1     1
                                                                                                                                                                                                               01
                                                                    01      683056604 MARTIN EZ,JESSE J          301011 OOM1                                                                        1     1
                                                                    01      644908168 MENDEZ,SHERYLN L           3010110 OF                   1
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                                                                    01      642882129 MUNGUIA,MICHELLE           301011 OOF                   0       00                  0
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                                                                    01      638887601 ROMERO,ROBERTO CARLOS R    3010110 OMO                          00                  0
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                                                                    01      642926243 SALDANA,CANDELARIO E       301011 OOM1                          00
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                                                                    02      764348522 ADRIANO,JOSHUA             3010110 OM1                          00
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                                                                    02      629843034 BARBOZA,BRISA Y            301011 OOF                   0       00
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                                                                    02      631826267 CHACON,JUAN                3010110 OMO                          00
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                                                                    02      651283990 ESPINOZA,ERIK B            301011 OOMO                          00                  0           0        0
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                                                                    02      627884922 GARCIA,ESTEBAN A           3010110 OMO
                                                                                                                 301011 OOF
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                                                                    02      643867693 GARZA,ELIDA K                                           0       00                  0           0        0               01
                                                                    02      627848551 JACOBO,SAMANTHA A          301981 OOF                   0       00                  0
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                                                                    02      634849812 LONGORIA,FABIAN            0010110
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                                                                    02      635840666 LOPEZ,EDUARDO 0                                                                     0           0        0    1     1    01
                                                                    02      598728588 MARIN TORRES,KASSANDRA E           OF                   0       00                  0           0        0               01
                                                                                                                 301011                               00
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                                                                                                                 3010110OOMO
                                                                    02      655163311 MEZA,LUIS F                                                                         0           0        0    1     1    01
                                                                    02      632880161 PIZARRO,MANUEL E                   OMO
                                                                    02      631865937 RODRIGUEZ,VALERIA A        3010110 OF                   1
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                                                                    02   645849736   SALDANA,ROSA    R           3   0   1   01   1   0   0   F   1   0   0   0   0   0   1   1   01
                                                                    02   645842868   VEGA,GALILEA                3   0   1   01   1   0   1   F   1   0   0   0   0   0   1   1   01
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                                                                    02   393237340   VILLASANA,JASLYN            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   640787880   AGUILAR,ABEL                3   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    03   638807870   ALONZO,MARIA M              3   0   1   01   1   0   0   F   1   0   0   0   0   0   1   1   01
                                                                    03   645734464   CASTILLO,BIANKAJ            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   638743471   GARZA,ANNA MARIE            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   635804523   GARZA,JULIANA E             3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   639783456   HERNANDEZ GARCIA,JUAN   E   3   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    03   633826976   HUERTA,LIZBETH              3   0   1   01   1   0   0   F   1   0   0   0   0   0   1   1   01
                                                                    03   632808036   MARTINEZ,JANIEA             3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   638784768   MENDOZA,SERGIO              3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    03   631827938   NARVAEZ,BRIANNA R           3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   643784663   PADILLA,CASSANDRA M         3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    03   633824953   RAMIREZ,JOHNATHAN           3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    03   634820778   SANCHEZ,AMY A               3   0   1   01   1   0   1   F   0   0   0   0   0   0   1   1   01
                                                                    03   636789754   ZAVALA,DANIELA M            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   641729442   ALVAREZ,MARCELINO A         0   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   00
                                                                    04   635761867   AMAYA,JUANA                 0   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    04   640743259   BALDERAS,CARLOS             3   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    04   640726212   BUENO,ITZELA                3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   02
                                                                    04   319981005   CAHUE,ANDREANA              3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   633747982   CANALES,IZAIHA   R          3   0   1   01   1   0   0   M   0   0   0   0   0   0   1   1   01
                                                                    04   627743979   DE LUNA,CIELO               3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   636845016   FERNANDEZ,EMIR              3   0   1   01   1   0   0   M   0   0   1   0   0   0   0   1   01
                                                                    04   628781463   GARCIA,JOSE LUIS M          0   0   1   01   1   1   0   M   0   0   0   0   0   0   1   1   01
                                                                    04   636761929   GONZALEZ,DIOS 0             0   0   1   01   1   0   0   M   1   0   0   0   0   0   1   1   01
                                                                    04   644723274   GUERRA,CASSANDRA            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   629701709   GUTIERREZ,JOSEA             0   0   1   01   1   1   0   M   0   0   0   0   0   0   1   1   01
                                                                    04   631708172   HERNANDEZ,DAVID             3   0   1   01   1   0   0   M   0   0   1   0   0   0   0   1   01
                                                                    04   639744888   JACOBO,NOELIAS              3   0   1   01   1   0   0 :F    0   0   0   0   0   0   1   1   01
                                                                    04   631782387   LOPEZ,MYAE                  3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   638769227   LOREDO,LUCILA             3010110
                                                                                                               3010110
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                                                                    04   636762434   MENDEZ,JUAN G
                                                                                                               301011               OOF          00
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                                                                    04   629764650                                                           0           0   0   0   1   1   01
                                                                                     MENDOZA,ANDREA S
                                                                    04   645769724   MUNOZ,ASHLEY NICOLE C     O   0   1   01   1   0   OF   0   0   0   0   0   0   1   1   00
                                                                    04   638740641                             301011               OOMO         00      0   0   0   1   1   01
                                                                                                                                                 00
                                                                                     PADILLA,NESTOR   R
                                                                                                               301011 OF            OOF      0           0   0   0   1   1   01
                                                                    04
                                                                    04
                                                                         627765278
                                                                         627765279
                                                                                     RAMIREZ,ANAHI
                                                                                     RAMIREZ,NATHALIE          3010110                       0   00
                                                                                                                                                 00
                                                                                                                                                         0   0   0   1   1   01
                                                                                                               301011 OOMO                               0   0   0   1   1   01
                                                                    04
                                                                    04
                                                                         640703357
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                                                                                     RODRIGUEZ,OSBALDO     R
                                                                                                               3010110 iF                    0   00
                                                                                                                                                 00
                                                                                                                                                         0   0   0   1   1   01
                                                                    04   637747811
                                                                                     SALAS,FRIDA G
                                                                                     SILVA,CHRISTOPHER G       3010110 OMO
                                                                                                               3010110 OF                    1   00
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                                                                    04   629701087   TORRES TAPIA,NADIA V
                                                                    04   630742226   VEGA,RICARDO C            3010111 OMO                       00      0   0   0   1   1   01
                                                                                  BENSON LEP STUDENTS
                                                                                  AS OF APRIL 1. 2011
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                                                                                                                                                                                    awaiia White Hispanic EcoDis
                                                                                                              Esilt ESI] LEP mel tRis SE GT1 Sex] igran] cTEIAmtndI Asian]
                                                                           PElM$1D            Name                                                                          Black
                                                                         474433887 ALCALA,EUSEBIO              3   0     1   01 1 0 0 M 1               0    0     0       0        0     1     1        01
                                                                    01
                                                                                                                   0     1  01   1    0  0   M 0        0    0     0       0        0     1     1        01
                                                                    01   633887300 ALVAREZ,ENRIQUE N          3
                                                                         320045404 GARCIA,TOBY                3    0   1    01   1   0   0   M   1      0    0     0       0        0     1      1       01
                                                                    01
                                                                                                                   0   1    01   1   0   0   M   0      0    1      0      0        0     0      1       01
                                                                    01   599749428 PEREZ-AVILES,DAVIDJ        3
                                                                         643825237 RODRIGUEZ,SANTIAGO         0    0   1    01   1   1   0   M   0      0    0      0      0        0     1      1       01
                                                                    02
                                                                                                                   0   1    01   1   0   0   M   0      0    0      0      0        0     1      1       01
                                                                    03   645781852 DE LEON,RODRIGO            3
                                                                         524078974 DIONGZON,LYNDON CHRISTIA   3    0   1    4P   1   0   1   M   0      0    0      1      0        0     0     0        00
                                                                    03
                                                                    03   632727576 ESQUIVEL,JALEN             3    0   1    01   1   1   0   M   0      0    0      0      0        0     1      1       01
                                                                         524088770 LIN,QIN                    3    0   1    99   1   0   1   F   0      0    0      1      0        0     0     0        02
                                                                    03
                                                                    03   769424504 MARIN-GARCIA,ANDREU        3    0   1    01   1   0   0   M   0      0    0      0      0        0     1      1       02
                                                                                                              3    0   1    01   1   0   1   M    0     0    0      0      0        0     1      1       01
                                                                    03   541634658 PINTOR-HERRERA,OMAR
                                                                    03   638781166 PUENTE,BELINDA             3    0   1    01   1   0   0   F   0      0    0      0      0        0     1      1       02
                                                                    03   502273333 RAMIREZ,ADRIANA M          3    0   1    01   1   0   0   F    1     0    0      0      0        0     1      1       01
                                                                                                                   0   1    01   1   1   0   F    0     0    0      0       0       0      1     1       01
                                                                    03   639825916 ROBLES,ROSANNA             3
                                                                    03   642809151 RODRIGUEZ,ELIZABETHV       3    0   1    01   1   0   0   F    0     0    0      0      0        0      1     1       01
                                                                                                                   0   1    01   1   0   0   F    1     0    0      0      0        0      1     1       01
                                                                    03   638807869 SALAS,SAMANTHA 1           3
                                                                    03   643803768 SOTO,ISAAC I                3   0   1    01   1   0   0   M    0     0    0      0       0       0      1     1       02
                                                                                                                   0   1    01   1   0   0   M    0     0    0      0       0       0      1     1       01
                                                                    03   643800808 VAZQUEZCHACON,REYNALDO     3
                                                                    04   644744121 MARTINEZ,JUANJ              3   0   1    01   1   0   0   M    0     0     1     0       0       0      0     1       01
                                                                    04   638766487 MENCHACA,ADRIANA F          0   0   1    01   1   0   0   F    0     0    0       0      0       0      1     1       01
                                                                    04   638766486 MENCHACA,ROBERT F           3   0   1    01   1   0   0   M    0     0    0       0      0       0      1     1       01
                                                                    04   640767111 ONOFRE,MONICAJ              3   0   1    01   1   0   0   F    0     0    0       0      0       0      1     1       01
                                                                                                               3   0        01       0   0        1     0    0       0      0       0      1     1       01
                                                                    04   474392365 RUIZ,JACQUELINE M                   1         1           F
                                                                    04    642743194 TALAMANTEZ,JOSEPHINE H     3   0   1    01   1   0   0   F    0      0   0       0      0       0      1     1        01
                                                                                                               3   0   1    01   1   0   0   F    0      0   0       0      1       0      0     1        01
                                                                    04    639725553 TORRES,BRISAA
                                                                                                                            01       0   0        0      0    0      0      0       0      1     1        01
                                                                    04    505430097 TORRES,DESTINY M           3   0   1         1           F
                                                                          629689379 VIlLALOBOSAF1D''           3   0   1    01   1   1   0   F    0      0    0      0      0       0      1     1        01
                                                                    04
                                                                     Grade    PEIMSID                Name            Bil       ESI.       LEP   omela tRis       SE GT       Sex       igran CTE       mm   Asian Black awaiia       White ispani
                                                                                         ROBB LEP STUDENTS
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                                                                                         AS OF APRIL 1, 2011
                                                                    01       636904019   CHUM,ALICE M            3         0          1         04     1     0      0              0       0       0             0     0
                                                                                                                                                                         F                                  1                    0         0        00
                                                                    01       628924134   CONTRERAS,ANDREAG       3         0          1         01     1     0      0    F         0       0       0        0    0     0         1         1        01
                                                                    01       639889390   DE LEON,JORGE           3         0          1         01     1     0     0 M             1       0       0        0    0     0         1         1        01
                                                                    01       645908105   ESCOBAR,ERICKA          3         0          1         98     1     0     0 M             1       0       0        0    0     0         1         1        01
                                                                    01       640900964   FERNANDEZ               3         0          1         98    1      0     0 M             0       0       0        0    0     0         1         1        01
                                                                    01        635847758 MARTINEZ,SAVANNAH M      3         0          1         01     1     0     0               0       0       0        0    0     0
                                                                                                                                                                         F                                                       1         1        01
                                                                    01       639924413 REYES,JOANA               3         0          1         01    1      1     0     F         0       0       0        0    0    0          1         1        00
                                                                    01       645907515 RIVERA,GERARDO            3         0          1         0].   1      1     0     M         0       0       0        0    0    0          1        1         01
                                                                    01       643883104 SMITH,FAITH A             0         0          1         98    0      0     0     F         0       0       0        0    0    0          1         1        01
                                                                    01       642880099 TORRES,ARMANDO            3         0          1         01    1      0     0     M         0       0       0        0    0    0          1        1         01
                                                                    02       628848904 ALMEIDA,ELIZABETH G       3         0          1         01    1      0     0     F         0       0       0        0    0    0          1        1         01
                                                                    02       632861296 CASTRO,HECTOR E           3         0          1         01    1      0     0 M             0       0       0        0    0    0          1        1         01
                                                                    02       637865554 GARCIA,JULIO A            3         0          1         01    1      0     0 M             0       0       0        0    0    0          1        1         01
                                                                    02       640867204 GUTIERREZ,MELINA          3         0          1         01    1      0     0     F         0       0       0        0    0    0          1        1         02
                                                                    02       628868056 LUNA,MARIVELLAC           3         0          1         01    1      0     0               0       0       0        0    0    0
                                                                                                                                                                         F                                                       1        1         01
                                                                    02       631804592 RABAGO GRANADOS,JOSUE R   3         0          1         01    1      1     0     M         1       0       0        0    0    0          1        1         01
                                                                    02       638865111 RODRIGUEZ,DIEGO E         3         0          1         01    1      0     0     M         0       0       0        0    0    0          1        1         01
                                                                    02       645843063 ROMO,DANIEL               3         0          1         01    1      0     0     M         0       0       0        0    0    0          1        1         01
                                                                    03       524078980 ARELLANO,YESENIA E        3         0          1         01    1      0     0               1       0       0        0    0    0
                                                                                                                                                                         F                                                       1        1         01
                                                                    03       628807641 CARDENAS,ZAYELLYG         3         0          1         01    1      0     0 F             0       0       0        0    0    0                   1
                                                                                                                                                                                                                                 1                  01
                                                                    03       634741259 GARCIA,JAVIEL             3         0          1         01    1      0     0 M             0       0       0        0    0    0          1        1         01
                                                                    03       636828015 GARCIA,LARYSSA            3         0          1         01    1      0     0 F             0       0       0        0   0     0          1        1         01
                                                                    03       632788791 GONZALEZ,ALBERT E         3         0          1         01    1      0     0 M             1       0       0        0   0     0          1        1         01
                                                                    03       636803043 GRANADOS,ADRIAN L         3         0          1         01           0     0 M             0       0       0        0   0     0
                                                                                                                                                      1.                                                                         1        1         01
                                                                    03       635789956 GUILLEN,JOSE G            3         0          1         01    1      0     0 M             1       0       0        0   0     0          1        1         01
                                                                    03       635782508 JUAREZ,YUMARAJ            3         0          1         01    1      0     0               0       0       0        0   0     0          1        1
                                                                                                                                                                         F                                                                          01
                                                                    03       640764940 MONSIVAIS,BRIAN A         3     ,0             1         01    1      0     0     M         0       0       0        0   0     0          1        1         01
                                                                    03       636805747 RIVERA,ANDREAA            3         0          1         01    1      0     0               0       0       0        0   0     0
                                                                                                                                                                         F                                                       1        1         01
                                                                    04   640746118   CANO,JULISSAM            3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                    04   633743735   CARDOZA,PRISCILA         3   0   1   01   1   1   0   F   0   0   0   0   0   0   1   1   02
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                                                                    04   641741828   GRANADOS,CESAR T         3   0   1   01   1   0   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   628760293   IBARRA,LAZARO    I       3   0   1   98   1   0   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   637762399   LEIJA,ENRRIQUE           3   0   1   01   1   0   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   630687575   LUNA,ANTHONY         1   3   0   1   01   1   1   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   628689601   REYES,ERIKL              3   0   1   01   1   0   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   643728300   RUEDAS,JOSE H            3   0   1   01   1   0   0 M     0   0   0   0   0   0   1   1   01
                                                                    04   645763437   TREVINO,GABRIELLAA       3   0   1   01   1   0   0 F     0   0   0   0   0   0   1   1   01
                                                                    04   642747616   YANE4PAMELA              3   0   1   01   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                                     FLORES LEP STUDENTS                                              -                         ________-
                                                                                     ASOFAPRIL1,2011
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                                                                           PEIMSID            Name             Bil
                                                                                                               3
                                                                                                                     ESI LEP mela tRis SE GT migr Sex
                                                                                                                     0   1   01   1   0   0   0   M
                                                                                                                                                          I
                                                                                                                                                              1
                                                                                                                                                                  igran CTE Arñln
                                                                                                                                                                       0    0
                                                                                                                                                                                  _Asian
                                                                                                                                                                                    0
                                                                                                                                                                                           Black
                                                                                                                                                                                           0
                                                                                                                                                                                                   awalia _Whit_ Hispani _Ec(
                                                                                                                                                                                                   0      1      1        01
                                                                     05   629705318 ARELLANO,RAULJ
                                                                     05   643686544 BUENDIA,MARTIN             3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     05   343966738 CARREON,GERARDO            3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     05   636682755 CORONADO,CHRIS     R       3     0   1   01   1   0   0   0   M           1        0    0       0      0       0       1     1        01
                                                                     05   643709793 GODOY,JESUSA               3     0   1   01   1   0   0   0   M           1        0    0       0      0       0       1     1        01
                                                                     05   648200529 GONZALEZ,AGUSTIN           3     0   1   01   1   0   0   0   M           1        0    0       0      0       0       1     1        01
                                                                     05   635725105 LOPEZ,SERGIO A             3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     05   511234934 MARINES,DIEGO D            3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     05   541576054 PINTORHERRERA,ANGELA       3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     05   627721685 SOTO,BENANCIO              3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     05   632728210 SOTO,RUBY R                3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   638623965 BANDA,LISETTEV             3     0   1   01   1   1   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   638601258 BLANCO,JULISSA             3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   372230615 BOCANEGRA,CECILIAJ         3     0   1   01   1   0   0   0   F           1        0    0       0      0       0       1     1        01
                                                                     06   628644021 CASTILLO,CHRISTOPHER   J   3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        02
                                                                     06   524078950 FERNANDEZ,MARTIN E         3     0   1   01   1   0   0   1   M           0        0    0       0      0       0       1     1        01
                                                                     06   634741615 GARZA,EZEQUIEL I           3     0   1   01   1   0   0   1   M           0        0    0       0      0       0       1     1        01
                                                                     06   630688315 GARZA,JAVIER               3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     06   524078990 GAVIRIO,GERARDO            3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     06   641640772 GAZCA,MAXIMILIANO          3     0   1   01   1   0   0   0   M           1        0    0       0      0       0       1     1        01
                                                                     06   642629101 GONZALEZ,ROLANDOC          3     0   1   01   1   0   0   0   M           1        0    0       0      0       0       1     1        01
                                                                     06   627626981 GUERRA,YSABEL              3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   643663931 LOPEZ,BRENDAV              3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   642648435 MALDONADO,MARIOA           3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     06   635603385 MARTINEZ,AURORA M          3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   634601912 ONOFRE,YASMEEN G           3     0   1   01   1   0   0   0   F           0        0    0       0      0       0       1     1        01
                                                                     06   636660341 RIVERA,RICARDO             3     0   1   01   1   0   0   0   M           0        0    0       0      0       0       1     1        01
                                                                     06   630626462 RODRIGUEZ,NATHALVA         0     0   1   01   1   1   0   0   F           0        0    1       0      0       0       0     1        01
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                                                                     106
                                                                      642640635 VELASQUEZ,SALMA S
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                                                                          JR HIGH LEP STUDENT
                                                                          AS OF APRIL 1,2011
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                                                                            PEIMSID         :
                                                                                                   Name               811   ESL   tEP
                                                                                                                                Ligj     eLa AtRis       61       Sex]       igran CTE   In Asian Bla       waiia White   Hisanic Ec
                                                                          642601391                                   03 1011 000                                 F      0        00        0     0     0        1        1      01
                                                                     07
                                                                          629605160
                                                                                      BUENO,ALEXIS C
                                                                                                                      031011  000                                        0        00        0     0     0        1        1      01
                                                                     07
                                                                                                                      031011
                                                                                      CORDOVA,XANDRA          B                                                   F
                                                                          642547662                                           000    0                            F               00        0     0     0        1        1      01
                                                                     07
                                                                     07   342945247
                                                                                      DE LEON,ABIGAIL
                                                                                      GUZMAN,JOSE G
                                                                                                          I
                                                                                                                      031980
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                                                                          639587426   LARA,JAILENE A
                                                                     07
                                                                          644584736                                   031011  000 MO                                              00        0     0     0        1        1      01
                                                                     07
                                                                          638621437
                                                                                      LEIJA,HECTORG
                                                                                                                      031011  000    0                            F               00        0     0     0        1        1      01
                                                                     07
                                                                          644625685
                                                                                      ORTIZ,ALEJANDRA
                                                                                                                      031011  100 MO                                              00        0     0     0        1        1      01
                                                                     07
                                                                          636609043
                                                                                      VALDEZ,ELI
                                                                                                                      031011  100 MO                                              00        0     0     0        1        1      02
                                                                     07
                                                                     07   639625990
                                                                                      VARELA,MIGUELA
                                                                                      VILLARREAL,KASSANDRA            031011  100                                 F      0        00        0     0     0        1        1      01
                                                                                      CAHUE,JOHN A                    03 1O1  000 MO         1                                    01        0     0     0        0        1      01
                                                                     08   633527358
                                                                          640025210                                   031011  100 Ml                                              00        0     0     0        1        1      01
                                                                     08
                                                                          635543618
                                                                                      CERVANTES,EFRAIN P
                                                                                      CRISPIN,DAISY M                 001010  000                                 F      0        00        0     0     0        1        1      00
                                                                     08
                                                                                                                      031011  100 MO                                              00        0     0     0        1        1       01
                                                                                                                              100 Ml
                                                                          638547230
                                                                     08
                                                                          644483900
                                                                                      ESCAMILLA,EDGAR
                                                                                                                      031011                                                      01        0     0     0        0        1       01
                                                                     08
                                                                          641527895
                                                                                      GARCIA,SAMUEL
                                                                                                                      001010  000 Ml                                              00        0     0     0        1        1       01
                                                                     08
                                                                          635485916
                                                                                      GUILLEN,ANTHONY G
                                                                                                                      031011  000 MO                                              00        0     0     0        1        1       01
                                                                     08
                                                                     08   731222243
                                                                                      HERNANDEZ,ERIC
                                                                                                                      031011  001    0                                            00        0     0     0        1        1       01
                                                                                                                      031011
                                                                                      HINCAPIE,VANESSA R                                                          F
                                                                     08 634503908                                             100                                 F      1        10        0     0     0        1        1       01
                                                                     08 475314424
                                                                                      IBARRA,STEPHANIE H
                                                                                                                      031011  000 Ml                                              00        0     0     0        1        1       01
                                                                     08 641561886
                                                                                      LOPEZ,GILBERT
                                                                                                                      031011  100                                 F      0        00        0     0     0        1        1       01
                                                                     08 S24078975
                                                                                      MARTINEZ,LESLIE
                                                                                      MENDEZ,ABIGAIL M                031011  000                                 F      0        00        0     0     0        1        1       01
                                                                     08 634565015     MUNOZ,KEPLER M                  031011  100 MO                                              00        0     0     0        1        1       01
                                                                     08 634502727     RODRIGUEZ,TANISHA N             031011  100
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                                                                     08 628569398 SALAS,MIREYAJ                             3     1     01    1      0   0        F
                                                                                                                      031011
                                                                                                                      O
                                                                     08 633526424 SANDOVAL,MARY JANE              0           000                                 F      0        00         0    0     0        1        1       01
                                                                                        HIGHSCHOOLLEPSTUDENTS
                                                                                        ASOFAPRIL 1, 2011
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                                                                                                                                                                                                                                     t
                                                                      rad    PEIM$ID                 Name       -       811   ESL LEt' ome   tRis   SE   (5T nmigra Sex       igran CTE Amind   Asian   Black   awaila       White       Ispan
                                                                                                                    I
                                                                     09     632505646                                   0     2   1   01     1      1    0   0     M      0       1    0        0       0       0        1           1           02
                                                                                        BOTELLO,TRINIDAD
                                                                     09     634503902                   0               0     2   1   01     1      0    0   0     M      0       0    0        0       0       0        1               1       01
                                                                                        FLORES,MARIO
                                                                     09     640527561                   P               0     2   1   01     1      0    0   0     M      0       1    0        0       0       0        1           1           01
                                                                                        HINOJOSA,JUAN
                                                                            S24088771                                   0     2   1   99     1      0    0   1     F      0       3    0        1       0       0        0           0           02
                                                                     09                 LIN,QING
                                                                     09     635488031                                   0     3   1   01     1      1    0   0     M      0       0    0        0       0       0        1               1       01
                                                                                        MARTINEZ,DAVID
                                                                            640528241                                   0     2   1   01     1      0    0   1     M      0       0    0        0       0       0        1               1       01
                                                                     09                 MENDOZA,RODRIGO
                                                                     09     635467184                       S           0     2   1   01     1      1    0   0     F      0       0    0        0       0       0        1               1       01
                                                                                        RAMIREZ,MORIAH
                                                                     09     643212259                                   0     2   1   01     1      1    0   0     M      0       0    0        0       0       0        1               1       01
                                                                                        RIOS,DANIELO
                                                                     09     641428684                                   0     2   1   01     1      0    0   0     M      0       0    0        0       0       0        1               1       01
                                                                                        RIVERA,FIDELA
                                                                     09     731220976   RODRIGUEZ,DANILO                0     2   1   01     1      0    0   0     M      0       0    0        0       0       0        1               1       01
                                                                     09     643481291                                   0     2   1   01     1      0    0   0     F      0       0    0        0       0       0        1               1       01
                                                                                        ROJAS,GIGI
                                                                     09     642461140   SALDANA,KAYLA                   0     2   1   01     1      0    0   0     F      1       0    0        0       0       0        1               1       01
                                                                     09     325925197                                   0     2   1   01     1      0    0   0     F      0       0    0        0       0       0        1               1       01
                                                                                        SANDOVAL,MARGARITA
                                                                                                                                                    0    0   0                    0    0        0       0       0        1               1       01
                                                                     09     640528252   TERRAZAS,ALEXIS M               0     2   1   01     1                     F      1
                                                                     09     627500687                                   0     2   1   01     1      1    0   0     F      0        1   0        0       0       0        1               1       01
                                                                                        VELASQUEZ,ANDIE N
                                                                            642442095                                   0     2   1   01     1      1    0   0     M      0       1    0        0       0       0        1               1       01
                                                                     10                 BLANCO,BRANDON L
                                                                     10     350902786                                   0     2   1   01     1      0    0   0     F      0        1   0        0       0       0        1               1       01
                                                                                        CAHUE,ROSAMARIA
                                                                     10     627443694                                   0     2   1   01     1      1    0   0     M      0        1   0        0       0       0        1               1       01
                                                                                        CAMACHO,IVAN
                                                                                                                                      01                 0   0     M      1       0    0        0       0       0        1               1       01
                                                                     10     638386508   CASTRO,RAMIRO M                 0     2   1          1      1
                                                                     10     633429356   CORONADO,CHRISTIAN G            0     2   1   01     1      0    0   0     M      0       0    0        0       0       0        1               1       00
                                                                     10     645462882                                   0     2   1   01     1      0    0   0     M      0        1   0        0       0       0        1               1       00
                                                                                        LEIJA,GUADALUPE
                                                                     10     637424884   LOPEZ,MARGARITO                 0     2   1   01     1      0    0   0     M      0        1   0        0       0       0        1               1       01
                                                                     10     635440328                                   0     2   1   01     1      0    0   1     M      0        1   0        0       0       0        1               1       01
                                                                                        MENDOZA,JESUSR
                                                                     11     638363953   ARELLANO,MICHAELA               0     2   1   01     1      1    0   0     M      0        1   0        0       0       0        1               1       01
                                                                     11     644342917                                   0     2   1   01     1      1    0   0     M      0        1   0        0       0       0        1               1       01
                                                                                        CANO,SERGIO
                                                                     11     631387145                   R               0     2   1   01     0      0    0   0      M     0        0   0        0       0       0        1               1       01
                                                                                        NINO,LUCIANO
                                                                     12     633364450                                   0     2   1   01     1      1    0   0      M     0        1   0        0       0       0        1               1       01
                                                                                        BANDA,JULIOV
                                                                     12     605637806   ESCOTO FUENTES,EDUARDO 0              2   1    01    1      1    0   0      M     0        1   0        0       0       0        1               1       00
                                                                     12   634609777 GARCIA,BENITO        0   2   1   01   1   1   0   0   M   0   1   0   0   0   0   1   1   UU
                                                                                                         0   2   1   01   1   0   0   0   F   0   1   0   0   0   0   1   1   00
                                                                     12   643529567 ORTEGA,JOHANAJ
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                                                                     12   627406554 RAMIREZ,ESTRELLAB    0   2   1   01   1   1   0   0   F   0   0   0   0   0   0   1   1   01
                                                                                                         0           01       0   0   1       1   2   0   0   0   0   1   1   01
                                                                     12   S24072931 TORRES,ANA LAURA M       2   1        1               F
                                                                     12   635301678 ZAMORA.CARLOS        0   2   1   01   1   1   0   0   M   0   1   0   0   0   0   1   1   01
                                                                           PEIMSID              Name        Bit ESI :LEP me   tRis SE GT Sex Migran CTE Amlrtd Asian Black   àwafla Whit   ispani EcoDis
                                                                                      EXCEL LEP STUDENTS
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                                                                                      AS OF APRIL 1, 2011
                                                                     09   628289312                         021011               OOMO               00         0    0        0      1      1     00
                                                                     10   635424012
                                                                                      MONSIVAIZ,ANDRES
                                                                                                            0210111                  OF      0      10         0    0        0      1      1     01
                                                                     10   521838947
                                                                                      ARELLANO,THALIA
                                                                                      MONTES,MARISA         0210110                  OF      0      10         0    0        0      1      1     00
                                                                     11   633447573   FLORES,KAREN    I     021011               OOF         0      10         0    0        0      1      1     01
                                                                     11   632262025   LEDEZMA,JUAN A        021011               OOMO               00         0    0        0      1      1     00
                                                                          639302602                         021011                OOM        1      00         0    0        0      1      1     01
                                                                     11
                                                                     12   450959822
                                                                                      RODRIGUEZ,KARLOS U
                                                                                      ESCAMILLA,YVONNE A    0210110 OF                       0      00         0    0        0      1      1     00
                                                                     12   642587466   FERNANDEZ,MARIA N     0210110 OF
                                                                                                            021011 OOF
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                                                                     12   633223873
                                                                     12   629465958
                                                                                      GARZA,JESSICA
                                                                                      MARTINEZ,SENIA        0219810 OF
                                                                                                            0210110
                                                                                                                    OF                       0
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                                                                          632261813   MORIN,CINTHIA A
                                                                     12
                                                                     12   637424899   RIOS,MARICRUZ         0219811 OF                       1      10         0     0       0      1      1     01
                                                                     12   631327493   SANCHEZ,SELENA        021011 OOF                       0      10         0     0       0      1      1     01
                                                                     ______-           BATESVILLE_LEP_STUDENTS
                                                                                       AS OFAPRIL 1, 2011
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                                                                     rad    PEIMSID               Name            811   ESI LEP ómeta   tRis   SE GT _Sex       igran   CTE   Amind   Asiani Black   awalia   White Hispani EcoDi
                                                                     01    634928192                              3     0   1   01      1      0   0   M    0           0     0       0     0        0        1     1      01
                                                                                       CORDOVA,ISAIAS
                                                                           632863453                              3     0       01             0   0        1           0     0       0     0        0        1     1       01
                                                                     02                CUELLAR,ALYZEA M                     1           1              F
                                                                     02    633866408                              3     0   1   01      1      0   0   F    0           0     0       0     0        0        1     1       01
                                                                                       GARCIA,YARAVYA
                                                                           630865073                              3     0   1   01      1      0   1   M    0           0     0       0     0        0        1     1       01
                                                                     02                NAJERA,HECTORM
                                                                     02    645862343   PINA RAMIREZ,GERARDO       3     0   1   01      1      0   0 M      0           0     0       0     0        0        1     1       01
                                                                                                                  3     0   1   01      1      0   0 M      0           0     0       0     0        0        1     1       01
                                                                     02    630888898   RODRIGUEZ,HILARIO
                                                                           733186214                              3     0   1   01      1      0   0        0           0     0       0     0        0        1     1       01
                                                                     02                SANCHEZ-SANCHEZ,DARLYN Y                                        F
                                                                                                                        0       01             0   0        0           0     0       0     0        0        1     1       01
                                                                     03    643800449   GALINDO,MADISON M          3         1           1              F
                                                                     03    634809678                              3     0   1   01      1      0   0   F    0           0     0       0     0        0        1     1       01
                                                                                       PINA,ARACELY
                                                                     03    634808103                              3     0   1   01      1      0   0   M    0           0     0       0     0        0        1     1       01
                                                                                       RIOS,RIO G
                                                                     03    634828367                              0     0   1   01      1      0   1   M    0           0     0       0     0        0        1     1       01
                                                                                       ROBLES,JESSE   J
                                                                     04    644681752                       B      3     0   1   01      1      0   0   F    0           0     0       0     0        0        1     1       01
                                                                                       CORDOVA,XIOMARI
                                                                     04    633748756                              0     0   1   01      1      0   0   M    0           0     0       0     0        0        1     1       01
                                                                                       GARCIA,MONTOYA N
                                                                           629649923                              3     0   1   01      1      1   0   F    0           0     0       0     0        0        1     1       01
                                                                     06                BAZAN,KYARA A
                                                                                                                        0       01             0   0        0           0     0       0     0        0        1     1       01
                                                                     06    645640114   GARCIA,VEOMARA M           3         1           1              F
                                                                           642662481                              0     0   1   01      1      1   0 M      0           0     0       0     0        0        1     1       01
                                                                     06                MARTINEZ,ADONIS
                                                                     PK    633022779                              3     0   1   01      1      0   0   F    0           0     0       0     0        0        1     1       01
                                                                                       MUNOZ,CRYSTAL
